         Case 2:16-md-02724-CMR Document 582 Filed 04/19/18 Page 1 of 3


                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            '·
IN RE: GENERIC PHARMACEUTICALS                            MDL No. 2724
PRICING ANTITRUST LITIGATION                              Case No. 2:16-MD-02724

                                                          Hon. Cynthia M. Rufe
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                             _~ . . . -:_PRETRIAL ORDER                 NO.'fl.
                                         +2                       ,
                     (Allowing Additional Targeted Discovery to Proceed)

        AND NOW, this      nrlay    of                                 20 ff(, upon consideration of the

Parties' Joint Status Report dated April 16, 2018, it is hereby ORDERED that:
                                                              ' ' I'
        1.     Nothing in this Order modifies or replaces Pfr~~ra.phs 2 through 10 of PTO 44.

For the avoidance of doubt, nothing in this Order precludes.a party or non-party from objecting

to, moving to quash, or seeking a protective order excusing a response .to any discovery request.

        2.     Except as provided in paragraph 2 of PTO 44 and paragraphs 3 and 4 of this

Order, all discovery (including initial disclosures) in all actions is stayed until November 9,

2018.

        3.     Subject to paragraphs 3 and 4 of PTO 44, discovery by interrogatory may proceed

on the following topics:

               a.      the identities of defendants' API suppliers;

               b.      for defendant employees or agents with responsibility for recommending,

                       reviewing, monitoring, setting, upd~~rtg~ r~porting, changing, modifying,

                       announcing, or approving prices or 6i'A§J·f-6 ~'generic pharmaceuticals, their:
                                                                        1



                           L   names;



                                                  1
        Case 2:16-md-02724-CMR Document 582 Filed 04/19/18 Page 2 of 3


                         n.    titles;

                        iii.   cellular telephone number(s) and associated carrier(s)

                        iv.    work telephone number(s);

                         v.    social media account(s), including user name or handle, ever used

                               for a business purpose; and :, ·
                                                           •    ·   • !• ,           • ~w·
                                                                                             1




                        vi.    private e-mail account(s)       ev¢.;\J..S~qi,f9ra,business                      purpose;
                                                                         l   ••• ,      \        ,;   '•'   -




               c.     the names of any trade association show or trade association event

                      attended by defendant employees or agents with responsibility for

                      recommending, reviewing, monitoring, setting, updating, reporting,

                      changing, modifying, announcing, or approving prices or bids for generic

                      pharmaceuticals;

               d.     all defendant package NDC codes corresponding to any of the drugs that

                      defendants manufactured or sold, including all package NDC codes

                      corresponding to repackagers, labelers, or distributors who repackaged,

                      labeled, or distributed any drug at i~su~;:and

               e.     the identity of all repackagers,   label6t~it6~XJr~tributors of any drugs that
                      defendants manufactured or sold.

       4.      Subject to paragraphs 3 and 4 of PTO 44 and paragraph 5 ofthis Order,

defendants may serve the following types of discovery on any plaintiff:

              a.      notices of depositions under Federal Rule of Civil Procedure 30(b)(6) on

                      any of the topics identified in paragraph 2(d) of PTO 44 (with whatever

                      modifications may be necessary to reflect that the deponents will be

                      designated by a plaintiff);
         Case 2:16-md-02724-CMR Document 582 Filed 04/19/18 Page 3 of 3
                                                                     I            I        I       I


                                                                 '           ~I                         I   '
                                                                                                            'I




               b.      any of the requests for the production of documents and/or data listed in

                       Exhibit A to PTO 44 (with whatever modifications may be necessary to

                       reflect that the requests are directed to a plaintiff); and

               c.      interrogatories on any of the topics identified in paragraph 3 of this Order

                       (with whatever modifications may be necessary to reflect that the

                       interrogatories are directed to a plaintiff).

       5.      With respect to discovery described in paragraph 4 of this Order, defendants will

provide the Department of Justice with a copy of such discovery at least five (5) business days in

advance of service, unless a shorter period is otherwise agreedfo.'by defendants and the

Department of Justice. Defendants shall make a good faith effort to coordinate discovery

described in paragraph 4 of this Order and to eliminate duplicative 'a~d overlapping requests.

       6.      The parties shall submit a joint status report on July 17, 2018, October 19, 2018,

and every 90 days thereafter.

       It is so ORDERED.

                                                       BY THE COURT:




                                                             i           J            '                 -:·.



                                                                         1•           f!       ~       \~




                                                  3
